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                         UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH CENTRAL DIVISION

       TAMRA STEPHENSON,                                 MEMORANDUM IN
             Plaintiff,                             OPPOSITION TO MOTION FOR
                                                        JUDGMENT ON THE
       vs.                                                 PLEADINGS
       MIDLAND CREDIT
       MANAGEMENT and TIM BOLIN                         Case Number: 4:21-cv-00020
                                                            Judge: David Nuffer
             Defendants.

             Plaintiff respectfully submits this Memorandum in Opposition to Motion

     for Judgment on the Pleadings and respectfully requests this Court to deny

     Defendants‘ motion for the reasons set forth herein.


                                      INTRODUCTION

             Despite the well-established standard of review Defendants argue that

     judgment should be rendered in their favor on all of Plaintiff‘s claims even though

     Plaintiff has plausibly stated facts to support each claim. Plaintiff stated claims for

     relief under the Fair Debt Collection Practices Act, the Utah Consumer Sales

     Practices Act, and for fraud. Defendants carry the burden to show there are no

     material facts in dispute on those issues but failed to meet that burden. They are

     therefore not entitled to judgment.
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                           RESPONSE TO STATEMENT OF FACTS

             Plaintiff objects to Defendants‘ Statement of Facts and Procedural History

     on the grounds that the numbered paragraphs are not short, plain, or concise.

     Instead they are compound, confusing, argumentative, and ambiguous. The

     statements also include improper and unsupported legal conclusions. The

     Statement therefore appears to be presented for improper purposes such as to

     harass, cause unnecessary delay, or needlessly increase the cost of litigation. This

     is not a motion for summary judgment. Direct responses to each of Defendants‘

     Statements are therefore not required under the Federal Rules of Civil Procedure

     or the Local Rules of Practice. Accordingly, Plaintiff denies the Statement in its

     entirety. The proper statements of fact are set forth in a short, plain, and concise

     manner in the Complaint (ECF No. 2) and Answer (ECF No. 7) and fully

     incorporated herein.


                                     STANDARD OF REVIEW

             Rule 12(c) of the Federal Rules of Civil Procedure provides a mechanism

     for judgment to be entered by the Court based on the pleadings filed.1 Such a
     motion is evaluated under the same standard as a Rule 12(b)(6) motion to

     dismiss.2 Under that standard, the court must accept all the well-pleaded

     allegations of the complaint as true and construe them in the light most favorable

     to the non-moving party.3 The Court must also make all reasonable inferences in

     favor of the nonmoving party.4 A motion for judgment on the pleadings against a
     1
       Fed.R.Civ.P. 12(c)
     2
       See Turner v. City of Tulsa, 525 Fed.Appx. 771, 772 (10th Cir. 2013)
     3
       Realmonte v. Reeves, 169 F.3d 1280, 1283 (10th Cir.1999)
     4
       Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)




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     plaintiff will be granted only when the factual allegations of the complaint fail to

     state a claim for relief that is plausible on its face,5 or when an issue of law is

     dispositive.6 Defendants can only succeed ―when it appears that the plaintiff can

     prove no set of facts in support of the claims that would entitled the plaintiff to

     relief.‖7 If the allegations stated in the complaint have any facial plausibility the

     Defendant is not entitled to judgment.8


                     THE FAIR DEBT COLLECTION PRACTICES ACT

             The Fair Debt Collection Practices Act was enacted in 1977 for, inter alia,

     the purpose of eliminating abusive debt collection practices by debt collectors.9

     The legislative history of the passage of the FDCPA explains the need for the

     FDCPA arose because of collection abuses such as use of ―obscene or profane

     language, threats of violence, telephone calls at unreasonable hours,

     misrepresentation of a consumer‘s legal rights, disclosing a consumer‘s personal

     affairs to friends, neighbors, or an employer, obtaining information about a

     consumer through false pretense, impersonating public officials and attorneys,

     and simulating legal process.‖10
             Examples of particular practices that debt collectors are forbidden to

     employ are set forth in the statute.11 The list, however, is non-exhaustive, and the


     5
       Bell A. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)
     6
       Neitzke v. Williams, 490 U.S. 319, 326, 109 S.Ct. 1827, 104 L.Ed.2d 338 (1989)
     7
       Mock v. T.G. & Y. Stores Co., 971 F.2d 522, 528 (10th Cir.1992)
     8
       Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)
     9
       Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 130 S.Ct. 1605, 1608,
     176 L.Ed.2d 519 (2010); Lewis v. ACB Bus. Servs., Inc., 135 F.3d 389, 398 (6th Cir.1998)
     (quoting 15 U.S.C. § 1692(e))
     10
        S.Rep. No. 95–382, at 2 (1977), reprinted in 1977 U.S.C.C.A.N. 1695, 1696.
     11
        See 15 U.S.C. § 1692 et seq.




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     FDCPA generally forbids collectors from engaging in any unfair, deceptive,

     harassing, abusive, or unconscionable behavior.12

             The FDCPA is considered a remedial statute and therefore ―it should be

     construed liberally in favor of the consumer.‖13 Such broad construction is

     necessary, ―so as to effect its purpose.‖14 The FDCPA is also considered a strict

     liability statute since it ―does not ordinarily require proof of intentional

     violation.‖15 ―Proof of one violation is sufficient to support a finding of summary

     judgment in favor of the Plaintiff in an FDCPA action.‖16

             In determining whether there is a violation of the FDCPA, courts apply the

     least sophisticated consumer test.17 This objective standard, ―ensure[s] that the

     FDCPA protects all consumers, the gullible as well as the shrewd ... the ignorant,

     the unthinking and the credulous.‖18 The least sophisticated consumer standard is

     a low standard and ―is consistent with the norms that courts have traditionally

     applied in consumer-protection law.‖19 For example, ―a communication that

     would not deceive or mislead a reasonable debtor might still deceive or mislead

     the least sophisticated debtor.‖20 Accordingly, ―any lender-debtor



     12
        Id.
     13
        Johnson v. Riddle, 305 F.3d 1007, 1117 (10th Cir. 2002)
     14
        Brown v. Card Serv. Ctr., 464 F.3d 450, 453 (3d Cir. 2006)
     15
        LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1190 (11th Cir. 2010)(citing 15 U.S.C. §
     1692k; Ellis v. Solomon & Solomon, P.C., 591 F.3d 130, 135 (2d Cir. 2010))
     16
        Bentley v. Great Lakes Collection Bureau, 6 F.3d 60, 62 (2nd Cir.1993); Cacace v. Lucas, 775
     F.Supp. 502, 505 (D.Conn.1990)
     17
        Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir.1993); see also Ditty v. CheckRite, Ltd., 973
     F.Supp. 1320, 1329 (D. Utah 1997)
     18
        Id. at 1318-1319
     19
        Brown v. Card Serv. Ctr., 464 F.3d 450, 453 (3d Cir. 2006)
     20
        Rosenau v. Unifund Corp., 539 F.3d 218, 221 (3d Cir. 2008) (quoting Wilson v. Quadramed,
     225 F.3d 350, 354 (3d Cir. 2000))




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     communications potentially giving rise to claims under the FDCPA . . . should be

     analyzed from the perspective of the least sophisticated debtor.‖21


                                           ARGUMENT
     Defendants violated the FDCPA and the UCSPA by sending a letter that
     falsely represented it was Plaintiff’s “Final Notice” when it was not her final
     notice
             Under the Fair Debt Collection Practices Act debt collectors are prohibited
     from falsely representing ―the character, amount, or legal status of any debt.‖22

     They are also more generally prohibited from using ―any false representation or

     deceptive means to collect or attempt to collect any debt or to obtain information

     concerning a consumer.‖23 The FDCPA also prohibits making any ―threat to take

     any action that cannot legally be taken or that is not intended to be taken.‖24 The

     Act also prohibits the use of any ―unfair or unconscionable means to collect or

     attempt to collect any debt.‖25 The Utah Consumer Sales Practices Act also

     prohibits false representations made in connection with a consumer transaction.26

     The UCSPA similarly prohibits any ―unconscionable act or practice … whether it

     occurs before, during, or after the transaction.‖27 Defendants squarely violated

     each of those prohibitions.
             Defendants jointly sent Plaintiff a collection letter on February 21, 2020.28

     In that letter they unequivocally represented that the letter was Plaintiff‘s ―FINAL

     21
        Brown, 464 F.3d at 454; Gallegos v. LVNV Funding LLC, 169 F.Supp.3d 1235, 1245 (2016)
     22
        15 U.S.C. § 1692e(2)(A)
     23
        15 U.S.C. § 1692e(10)
     24
         15 U.S.C. § 1692e(5) and 1692f
     25
         15 U.S.C. § 1692f
     26
        Utah Code Ann. § 13-11-4(1)
     27
        Utah Code Ann. § 13-11-5(1)
     28
        Answer ¶¶ 23; Exhibit P-1




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     NOTICE‖ before an attorney review and litigation would occur.29 Defendants did

     not just represent it was her last opportunity to stop the attorney review and

     lawsuit however. They repeatedly and prominently employed various linguistic,

     visual, and typographical elements to emphasize that point. The most prominent

     of those elements was the inclusion of a red circular ―FINAL NOTICE‖ stamp at

     the top of the letter.30




              The letter also included various other statements to bolster the false notion

     that the letter was Plaintiff‘s final opportunity to resolve the matter. For example,

     the letter unequivocally stated in the top center of the page in bold, centered, and

     underlined letters:


                ―IMPORTANT NOTICE – PLEASE READ CAREFULLY

          FAILURE TO REPLY WILL RESULT IN ATTORNEY REVIEW‖31




     29
        Exhibit P-1 Final Notice Letter (emphasis in original)
     30
        Id.
     31
        Id.




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     The Final Notice letter also contained bold white capital letters on a black solid

     background stating:             ATTORNEY REVIEW PLANNED

              Digging deeper into the letter also further verifies Defendants‘ intention

     was to assure Plaintiff believed this letter was her last opportunity. Foreboding

     checklists prominently explained in clear terms what their attorney would do

     when he reviews the account and how a judgment could impact the Plaintiff by

     triggering a lawsuit, liens, garnishments, and other asset seizures.32

              If there was any doubt remaining about the perceived urgency of the letter

     that doubt would be quickly dispelled by reading the various additional warnings

     and threats throughout the Final Notice letter such as ―call our Pre-Legal

     department‖ and ―[I]f you do not reply, we plan on sending your account to an

     attorney in the state of UT.‖33 The letter even contained a postscript reinforcing

     the imminence of the threats. ―PS. Your prompt attention is necessary to avoid the

     possibility of attorney review.‖34 The Final Notice letter was undisputedly

     representing to be Plaintiff‘s final opportunity to pay or face litigation.35 The only

     reasonable inference that could be made given those threats, the prominent use of

     persuasive typographical elements, and the actual language of the letter claiming
     to be Plaintiff‘s the last opportunity to avoid litigation is that Defendants‘ next

     step was to send the account for the promised attorney review and litigation.

              The letter was not ambiguous. It outlined the entire litigation process by

     overtly threatening to have an attorney ―[c]ommence a lawsuit,‖ ―[s]erve a copy

     32
        Exhibit P-1 Final Notice Letter
     33
        Id.
     34
        Id.
     35
        Id.




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     of the lawsuit personally‖ on the Plaintiff, ―[s]eek to obtain a judgment‖ against

     the Plaintiff.36 The letter even described the post-judgment remedies against the

     Plaintiff such as obtaining a lien against her property, garnishing her wages or

     bank accounts, and obtaining information about her assets.37 Despite the

     forcefulness and detail of the letter, all of those statements were false. The ―Final

     Notice‖ letter was not Plaintiff‘s final opportunity and litigation was not

     imminently pending.38

             Rather than send the account for the threatened attorney review and

     litigation, Defendant waited four months and then sent Plaintiff a ―Final Notice

     Extension‖ letter.39 In other words, Defendant did not carry out its threat to sue

     and send the account for an attorney review. Defendant will no doubt argue that

     third letter was somehow a courtesy to the Plaintiff for which she should be

     grateful but in reality that letter established that Defendant‘s Final Notice letter

     was not Plaintiff‘s final notice. It also proves Defendants‘ Pre-Legal Notification

     letter sent almost seven months earlier was deceptive in representing itself so

     urgently since it too was nowhere near as urgent as Defendants claimed.40

             Under the least sophisticated consumer standard the fraudulent and
     deceptive nature of these letters is without question. As intended by the

     Defendants the least sophisticated consumer would have believed all of the

     Defendants‘ threats and representations. This is true even though the

     representations and threats were patently false. The ―Final Notice‖ letter was not
     36
        Exhibit P-1
     37
        Exhibit P-1
     38
        Answer ¶ 34; Exhibit P-2 Final Notice Extension Letter
     39
        Exhibit P-2 Final Notice Extension Letter
     40
        Exhibit P-3 Pre-Legal Notification Letter




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     Plaintiff‘s final notice, Plaintiff‘s ―prompt attention‖ was not ―necessary to avoid

     the possibility of attorney review‖ or the commencement of a lawsuit, and

     Plaintiff‘s failure to reply did not result in the promised attorney review or

     litigation.41 Referring to their ―pre-legal department‖ also cements the false notion

     that the matter was urgent enough to need an immediate reaction from Plaintiff

     when it actually was not at all urgent since Defendants‘ intention was to wait and

     then send another letter rather than actually carrying out its threats.42 Indeed,

     failing to reply bought Plaintiff nearly a year of additional time and resulted in at

     least one additional communication before any attorney ever touched the matter.43

     It is undisputed that Plaintiffs prompt attention was not ―necessary to avoid the

     possibility of attorney review.‖44 All she had to do was ignore letter.

             In presenting the letter as Plaintiff‘s ―final notice‖ before an attorney

     review or litigation would occur Defendants falsely represented that the legal

     status of the debt was much closer to litigation than it actually was. Placing the

     red ―FINAL NOTICE‖ stamp on the letter by itself created the false

     representation that litigation was imminent when it was not. On its face the letter

     actually confirms that was the intent as it plainly states in bold, all capital, and
     underlined letters centered on the page:

                ―IMPORTANT NOTICE – PLEASE READ CAREFULLY

          FAILURE TO REPLY WILL RESULT IN ATTORNEY REVIEW‖45


     41
        Exhibit P-1 Final Notice Letter
     42
        Exhibit P-2
     43
        Answer ¶ 34 (Confirming that the account was not sent for any attorney review until December
     9, 2020); See also Certification of Midland Credit Management, Inc. ¶ 7)
     44
        Exhibit P-1; Complaint ¶ 24.7
     45
        Exhibit P-1 Final Notice Letter (emphasis in original)




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              The false urgency of the letter is especially egregious since the letter was a

      follow-up to the Defendants‘ ―Pre-Legal Notification‖ letter sent two months or

      so earlier.46 The false representations and the false urgency they combined to

      create plainly and inexcusably violate sections 1692e(2), 1692(e)(5), and

      1692e(10) of the FDCPA and the deceptive and unconscionable prohibitions of

      the Utah Consumer Sales Practices Act since each of those subsections outright

      prohibit any form of deception or subterfuge in collecting debt.47

              In addition to be being facially deceptive, a collection notice also violates

      the FDCPA if a debtor would reasonably believe that the notices threaten legal

      action but the debt collector does not intend to take legal action.48 In addition to

      violating the sections of the FDCPA prohibiting deception, threats to take legal

      action that are not actually intended also constitute unfair or unconscionable

      means to collect or attempt to collect any debt in violation of the FDCPA and

      UCSPA.49

              Because the Court ―must accept these allegations as true‖ for purposes of a

      Rule 12(c) motion, ―the allegations plausibly make out a violation of section

      1692e(5) and (10).50 On those grounds alone the Court must deny Defendants‘
      request.51 Because the allegations stated in the complaint have a facial plausibility

      the Defendant is not entitled to judgment.52 Taken as a whole and in light of the


      46
         Exhibit P-2 Pre-Legal Notification Letter
      47
         Utah Code Ann. §§ 13-11-4 and 13-11-5
      48
         United States v. National Financial Services, Inc., 98 F.3d 131, 136 (Cir. 1996)
      49
         15 U.S.C. § 1692f and Utah Code Ann. §§ 13-11-4 and 13-11-5
      50
         Gause v. Medical Business Consultants, Inc., 424 F.Supp.3d 1175, 1207 (2019)(internal
      citations omitted)
      51
         Fed. R. Civ. P. 12(c)
      52
         Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)




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      prior Pre-Legal Notification letter, the statements made in the Final Notice letter

      cannot be construed any way other than a threat that ―some type of legal action

      has already been or is about to be initiated and can be averted from running its

      course only by payment‖ even though that threat was later discovered to be

      patently false.53 Because the letter poses a ―threat to take [legal] action,‖ as

      viewed through the eyes of the unsophisticated consumer, only Plaintiff could be

      entitled to judgment on this issue.54

               Even if the inferences were not in Plaintiff‘s favor, the undisputed facts

      are also in her favor. It is undisputed that Defendants represented unequivocally

      they would send the account for an attorney review and litigation if Plaintiff did

      not respond to the Final Notice letter but that did not happen. Instead, Defendants

      waited for several months and then sent another collection letter.55 They also

      waited for over a year from the first letter before actually sending the account to

      an attorney.56 Even then, they only sent the account for an attorney review after

      Plaintiff‘s counsel notified them of this lawsuit.57 The natural inference to reach

      from those facts is that Defendants were not initially planning to sue the Plaintiff

      but referred the matter to an attorney later on to both retaliate and attempt to cover
      up or mitigate their prior failure to follow through with their threats.




      53
         Pipiles v. Credit Bureau of Lockport, Inc., 886 F.2d 22, 26 (Cir. 1989)
      54
         See United States v. National Financial Servs., Inc., 98 F.3d 131, 136 (4th Cir.1996)
      55
         Complaint ¶¶ 27-28; Exhibit P-2; Answer ¶ 27
      56
         Answer ¶ 34
      57
         Answer ¶ 29.5




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      Factual questions preclude entry of judgment on the pleadings in
      Defendants’ favor
              The Final Notice letter is addressed from the Defendants‘ so-called ―Pre-

      Legal Department.‖58 There is no evidence in the record however whether or not

      Defendants actually have a pre-legal department.59 On the contrary, because the

      three letters appear to originate from different departments but are all signed by

      Tim Bolin, it is reasonable to conclude that there is no ―pre-legal department‖ as

      claimed in the Final Notice letter.60 If true, that representation is a ruse in
      violation of both the FDCPA and UCSPA and constitutes fraud. ―A debt collector

      may not send a collection letter from a ‗Pre-Legal Department,‘ where no legal

      department exists.‖61

              Even if there actually is a legal department it is also possible that a least

      sophisticated debtor receiving the Final Notice letter ―could reasonably infer that

      the Legal Department contains attorneys who played a role in writing or sending

      the letter‖ even though it may not.62 Either way, ―the factual question of whether

      [Midland] has a Legal Department is inappropriate for resolution on a Fed. R.

      Civ. P. 12(c) motion for judgment on the pleadings.‖63 Instead, resolution of that

      issue is for the finder-of-fact since there are a number of plausible inferences that

      can be drawn from representing a legal department is involved.64



      58
         Exhibit P-1
      59
         See Complaint; See Answer
      60
         Compare Exhibits P-1, P-2, and P-3
      61
         Statements of General Policy or Interpretation: Staff Commentary on the Fair Debt Collection
      Practices Act, 53 Fed.Reg. 50097-02 (December 13, 1988), at 50105
      62
         Rosenau v. Unifund Corp., 539 F.3d 218, 223 (Cir. 2008)
      63
         Rosenau v. Unifund Corp., 539 F.3d 218, 225 (Cir. 2008)
      64
         LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1196-1197 (Cir. 2010)




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               There is also a factual dispute pertaining to whether Defendants‘ use of

      language and typographical elements caused any overshadowing of the debt

      collection warnings required in all collection communications under the FDCPA.

      Under the FDCPA the initial communication with a debtor requires certain

      disclosures.65 Other disclosures are also required within five days of that initial

      communication.66 In addition to those requirements the FDCPA also requires a

      warning ―in subsequent communications that the communication is from a debt

      collector.‖67 The only exemption to that requirement is for formal pleadings made

      in connection with litigation.68

               In this case the Defendants provided the warnings but a jury could find

      that they overshadowed those warnings and thus rendered them ineffective and

      violative of the FDCPA‘s mandate. For example, one of the warnings is on the

      back of the page rather than being included where it should be on the front. That

      disclosure is also in a smaller and less prominent font than many of the more

      foreboding elements on the page such as the giant red FINAL NOTICE stamp,

      the reverse bolded and capitalized ―ATTORNEY REVIEW PLANNED‖ bar at

      the top of the front page, and the bold, all capital, and underlined sentence
      centered on the page that threatens:

                 ―IMPORTANT NOTICE – PLEASE READ CAREFULLY

           FAILURE TO REPLY WILL RESULT IN ATTORNEY REVIEW‖69


      65
          15 U.S.C. § 1692e(11)
      66
          15 U.S.C. § 1692(g)
      67
          15 U.S.C. § 1692e(11)
      68
         Id.
      69
         Exhibit P-1 Final Notice Letter (emphasis in original)




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      The various other threatening language contained in the letters as discussed

      previously also likely operated to overshadow the required disclosures.70 The

      Final Notice Extension and Pre-Legal Notification letters also contain similar

      elements involving font changes, sizing, color, highlighting, and other similar

      elements meant to emphasize the urgency of the letters over the disclosures

      required by law.71

              By using these distracting elements Plaintiff contends that Defendants

      unlawfully overshadowed the required disclosures.72 To be effective, the required

      notices ―must not be overshadowed or contradicted by other messages or notices‖

      from the collection agency.73 Defendants have provided no evidence to suggest

      that Plaintiff‘s allegations on this issue are factually false.74 Accordingly,

      judgment on the pleadings cannot be entered in Defendants‘ favor on this issue.

              The fraud claims also preclude judgment on the pleadings. Plaintiff

      alleged fraud in the Complaint while Defendants denied those allegations.75

      Those denials create factual disputes over what actually happened. Defendants

      contend that because they declared in conclusory fashion without any explanation




      70
         Id.
      71
         Exhibit P-2 and P-3
      72
         Complaint ¶¶ 31-33; Answer ¶¶ 31-33
      73
         Swanson v. Southern Oregon Credit Service, Inc., 869 F.2d 1222, (Cir. 1988) (citing Thomas v.
      National Business Assistants, Inc., No. N82-469 (D.Conn. Oct. 5, 1984) (―inconspicuous and
      grossly overshadowed‖ notice did ―not properly notify recipients of their validation of debt
      rights‖) and Ost v. Collection Bureau, Inc., 493 F.Supp. 701, 703 (D.N.D.1980) (communication
      must not be designed to ―evade the spirit of the notice statute, and mislead the debtor into
      disregarding the notice‖))
      74
         See Answer
      75
         Answer ¶¶ 93-107




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      or evidentiary support that Midland initiated lawsuits in Utah at various times that

      somehow magically absolves them of all wrongdoing.76 That position is absurd.

              Initially, the moving party bears the burden of demonstrating the absence

      of a genuine issue of material fact.77 Defendant‘s self-serving generic conclusory

      declaration does not meet that standard. On the contrary, the boilerplate

      declaration conspicuously omitting any factual support raises more questions than

      it dispels.

              The declaration leaves open the factual questions of how many lawsuits

      Defendants filed, when they filed those lawsuits, what percentage of cases they

      filed lawsuits compared to not filing, what were the criteria for filing lawsuits,

      whether Plaintiff‘s alleged debt ever met that criteria, and other similar questions

      of fact crucial to the claims and defenses at issue.78 Even if Midland did file other

      court cases in Utah that does not resolve factual questions about whether or not it

      was capable of filing a case against Plaintiff or whether it intended to file at the

      time it sent the threatening letters. The declaration also fails to address what

      involvement Tim Bolin had in the creation of the letters he signed, whether he had

      any oversight of the collections at issue, or whether he is actually available for
      consumers to communicate with as represented in the letters.79 The declaration is

      therefore meaningless.

              Judgment on the pleadings in Defendants‘ favor is also precluded outright

      because Plaintiff squarely met the remaining elements of her fraud claim.

      76
         Certification of Midland Credit Management ¶ 9
      77
         See Shapolia v. Los Alamos Nat'l Lab., 992 F.2d 1033, 1036 (10th Cir. 1993) (citations omitted)
      78
         See Certification of Midland Credit Management
      79
         Id.




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      Defendants made various false representations that they knew to be false, the

      representations were made for the purpose of inducing Plaintiff to act on those

      representations, Plaintiff relied on those representations not knowing they were

      false, and Plaintiff acted on those representations to her detriment and injury.80

      ―Plaintiff was confused and intimidated by Defendants‘ false, misleading,

      deceptive, and unfair threats, implications, and representations.‖81 ―Plaintiff

      received and read each of the collection letters and believed the Defendants would

      carry out their threats to have an attorney review the case and sue the Plaintiff.‖82

      As a result of the fraudulent representations and the belief they were true, Plaintiff

      suffered ―emotional distress, humiliation, stress, anxiety, frustration, confusion,

      panic, headaches, sleeplessness, stomach discomfort, pain, memory loss, and

      irritability.‖83

              The court must accept those well-pleaded allegations of the Complaint as

      true and construe them in the light most favorable to the Plaintiff.84 The Court

      must also make all reasonable inferences in favor of the Plaintiff.85 It was

      Defendants‘ burden to show there is no possibility Plaintiff could prevail on her

      fraud claims but they failed to meet that burden.86




      80
         Complaint ¶¶ 16, 20-30, 39, 48, 50-55, 57-62, 70-73, 76, 82-88, 90-107
      81
         Complaint ¶ 73
      82
         Id. ¶ 52
      83
         Id. ¶ 53
      84
         Realmonte v. Reeves, 169 F.3d 1280, 1283 (10th Cir.1999)
      85
         Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)
      86
         See Shapolia v. Los Alamos Nat'l Lab., 992 F.2d 1033, 1036 (10th Cir. 1993) (citations omitted




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      None of the Defendants’ conduct is exempt from the UCSPA
               Grasping at straws Defendants point out a narrowly limited exemption in

      the UCSPA for ―an act or practice required or specifically permitted by or under

      federal law, or by or under state law.‖87 That exemption does not even arguably

      apply here because the Defendants‘ actions were not required or permitted by

      law.88 On the contrary, no statute allows or requires debt collectors to make false

      threats, deceptive representations, or engage in other conduct intended to invoke
      an artificial sense of urgency. Indeed, both statutes unequivocally prohibit such

      conduct.89 Defendants carry the burden to show the exemption applies but

      because they failed to articulate how the violations at issue were somehow

      permitted by law they did not even arguably meet that burden.90 Accordingly, the

      conduct of the Defendants complained of herein does not fit within this narrow

      exemption. The Defendants conduct is subject to all the prohibitions and

      requirements of the UCSPA.


      The statutes of limitations are not expired

               Defendants argue that all claims relating to its first Pre-Legal Notification

      letter are barred by the statute of limitations.91 In reaching that conclusion they
      didn‘t provide any analysis or authority beyond citing to one of the applicable

      statutes. The reason for that conspicuous omission is because the conclusion is

      wrong.


      87
         Motion for J. on the Pleadings at 15
      88
         Utah Code Ann. § 13-11-22(1)(a)
      89
         15 U.S.C. § 1692 et seq. and Utah Code Ann. § 13-11-1 et seq.
      90
         Utah Code Ann. § 13-11-22(2)
      91
         Motion for Judgment on the Pleadings at 9




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              For starters, the statutes of limitations under the Utah Consumer Sales

      Practices Act and for common law fraud are not expired for any of the Plaintiff‘s

      claims. Under the Utah Consumer Sales Practices Act the statute of limitations is

      four years while the statute of limitations for common-law fraud is three years.92

      Accordingly, even assuming arguendo that the statute of limitations was expired

      with regard to the first Pre-Legal Notification letter under the FDCPA, they are

      not expired with regard to the remaining claims.

              As for the FDCPA there are two possibilities since the statute of

      limitations begins to run on the date the illegal conduct occurred.93 In its Pre-

      Legal Notification letter Defendants threatened in orange highlighted text, that

      ―[i]f we don‘t hear from you or receive payment by 1/5/2020, we may proceed

      with forwarding this account to an attorney.‖94 In large green letters it also states

      ―ACT NOW: Attorney review may be the next step.‖95 The letter also boldly

      states that ―If your account is forwarded to an attorney, this may result in a

      lawsuit against you.‖96 If Defendants are conceding those threats were false

      when they sent their December 6, 2019 letter, then the statute of limitations would

      indeed be expired under the FDCPA for those false communications since the
      date the violation occurred is the governing moment.97

              Because they deny the falsity of the representations, however, Plaintiff

      submits that the FDCPA violations for those false statements did not occur until a


      92
         Utah Code Ann. § 78B-2-307(3) and 78B-2-305(3)
      93
          15 U.S.C. § 1692k(d)
      94
         Complaint ¶ 22
      95
         Id. (Emphasis and color in original)
      96
         Id. (Emphasis in original)
      97
         Rotkiske v. Klemm, 589 U.S. ____ (2019), 18-328




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      few months after the letter was sent. It was only when Defendants sent their next

      letter on February 21, 2020 that their so-called ―Pre-Legal Notification‖ letter and

      its various statements and threats became false and actionable by the Plaintiff.

              Up until that moment, Defendants could have actually carried out their

      threat to refer the case to an attorney. It was only when they failed to carry out

      their threats that Plaintiff‘s cause of action accrued.98 In other words, Plaintiff did

      not have a ―complete and present cause of action,‖ for the false representations

      and threats until the second letter established definitively that Defendants were

      not carrying out those threats.99 ―A cause of action does not become ‗complete

      and present‘ until the plaintiff can file suit and obtain relief.‖100 Here Plaintiff

      could not have filed a claim for the false threats until they were rendered false by

      the second letter. This case was therefore filed within the one year window

      afforded by the FDCPA‘s statute of limitations as it was filed within one year of

      the date Plaintiff‘s claims based on the first Pre-Legal Notification letter accrued.

      Tim Bolin is personally liable for the violations complained of in this case
      because he personally participated in those violations
              The FDCPA prohibits certain acts taken to collect debts by ―any person ...

      in any business.‖101 The Act contains several exemptions from that broad

      definition but employees who sign deceptive and fraudulent collection letters is

      not among those exemptions.102 The Act also applies to any individual who

      98
         See Johnson v. Riddle, 305 F.3d 1107, 1113 (Cir. 2002) (holding that the statute of limitations
      runs on the date of service of process rather than the date the collection suit is filed)
      99
         Bay Area Laundry & Dry Cleaning Pension Trust Fund v. Ferbar Corp., 522 U.S. 192, 201, 118
      S.Ct. 542, 139 L.Ed.2d 553 (1997)
      100
          Id.
      101
           15 U.S.C. § 1692a(6) (emphasis added)
      102
          Id.




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      ―regularly collects or attempts to collect, directly or indirectly, debts owed or due

      or asserted to be owed or due another.‖103 Under that plain language courts

      routinely hold individuals personally liable when they materially participated in

      collecting the debt at issue such as here where Tim Bolin signed all three

      deceptive collection letters.104 Unless his signature is fraudulent, Bolin is

      therefore personally liable because he materially participated in the collections by

      affixing his signature to the deceptive collection letters. Indeed, on the face of the

      letters it is impossible to separate Midland and Bolin as they both plainly

      participated in the collections at issue.


                                             CONCLUSION

              The overarching theme to Defendants‘ request for judgment on the

      pleadings is the false assertion that there is no factual support for Plaintiff‘s

      claims. In addition to simply being wrong, that position also patently betrays the

      standard of review under which the Court must construe all material allegations

      and inferences in the light most favorable to the non-moving party.

              Even if the material allegations and inferences were not construed in
      Plaintiff‘s favor, they naturally fall in Plaintiff‘s favor because most of those facts

      are actually undisputed. For example, it is undisputed the Defendants sent the

      letters at issue and it is undisputed those letters contain specific statements and

      threats that were not true.

      103
         Id.
      104
         See Brumbelow v. Law Offices of Bennett and Deloney, P.C., 372 F.Supp.2d 615, 618 (D.Utah
      2005); Brink v. First Credit Res., 57 F.Supp.2d 848, 862 (D.Ariz.1999); Ditty v. CheckRite, Ltd.,
      Inc., 973 F.Supp. 1320, 1336-37 (D.Utah 1997); Newman v. Checkrite Cal., Inc., 912 F.Supp.
      1354 (E.D.Cal.1995




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             Even Defendants cannot deny that they sent the Final Notice letter instead

      of carrying out their threat to forward the account to an attorney in their Pre-legal

      Notification letter or that they again failed to carry out the same threat even after

      sending Plaintiff the Final Notice letter that explicitly and repeatedly represented

      itself as Plaintiff‘s final opportunity to respond before an attorney review and

      litigation would occur. If anyone is entitled to judgment on these facts it is the

      Plaintiff. Moreover, judgment on the pleadings in Defendants‘ favor is also

      improper because there are material facts still in dispute.

             Defendants did not meet their burden required under Rule 12(c). For these

      reasons and the other reasons discussed herein Plaintiff respectfully requests a

      denial of Defendants‘ Motion for Judgment on the Pleadings.


          DATED 6/1/2021                                    /s/ Eric Stephenson
                                                            Attorney for the Plaintiff




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                                CERTIFICATE OF SERVICE
             I hereby certify that on 6/1/2021 I served the foregoing MEMORANDUM
      IN OPPOSITION TO MOTION FOR JUDGMENT ON THE PLEADINGS
      through this Court‘s electronic filing system to Defendant‘s counsel of record.

                                                          /s/ Eric Stephenson
                                                          Attorney for the Plaintiff




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